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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                FORT SMITH DIVISION

DAVID CORLEY and
PAULA CORLEY                                                                       PLAINTIFFS

v.                                   No. 2:20-CV-02109

VALLEY BEHAVIORAL HEALTH SYSTEM, LLC and
ACADIA HEALTHCARE COMPANY, INC.                                                 DEFENDANTS

                                            ORDER

       Before the Court is the parties’ joint motion (Doc. 31) to dismiss the case with prejudice.

Pursuant to Rule 41 of the Federal Rules of Civil Procedure the Court finds the terms proper.

       IT IS THEREFORE ORDERED that the parties’ joint motion (Doc. 31) is GRANTED and

this case is DISMISSED WITH PREJUDICE. Judgment will be entered separately.

       IT IS SO ORDERED this 13th day of October, 2021.


                                                            /s/P. K. Holmes, ΙΙΙ
                                                            P.K. HOLMES, III
                                                            U.S. DISTRICT JUDGE
